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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 19-cv-21702-SCOLA/TORRES


  SPECTRUM IMAGE, INC., d/b/a
  SPECTRUM AESTHETICS,

            Plaintiff,

  v.

  NICHOLAS MAKOZY,

            Defendant.
                                        /

                         PLAINTIFF’S MEMORANDUM IN OPPOSITION
                           TO DEFENDANT’S MOTION TO DISMISS

            Plaintiff Spectrum Image, Inc., d/b/a Spectrum Aesthetics (“Spectrum”), by and through

  its undersigned counsel, respectfully submits this response to Defendant Nicholas Makozy’s

  (“Defendant”) Motion to Dismiss the Complaint (the “Motion”). [D.E. 10]. As explained in

  detail below, Defendant’s recent statements under penalty of felony support Spectrum’s

  jurisdictional allegations. Accordingly, the Motion should be denied.

       I.   INTRODUCTION AND BACKGROUND

            Spectrum brings this case to seek a declaratory judgment against Defendant for his

  fraudulent attempt to register Spectrum’s trademark. Spectrum seeks a declaration that it holds

  superior legal right to its trademark and an order compelling Defendant to abandon his trademark

  application.

            When Defendant undertook his trademark scheme in March 2018, he, like all other

  federal trademark applicants, filed a TEAS application on the United States Patent and

  Trademark Office (“PTO”) website. In doing so, Defendant listed a Port St. Lucie address and
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  South Florida telephone number on the application. [See D.E. 1-3, p. 1]. In fact, Defendant listed

  this address twice on the application prior to signing it — designating the Port St. Lucie address

  as his physical address and as his address for correspondence. [See id. at p. 2]. Defendant then

  swore to the PTO under penalty of violating 18 U.S.C. § 1001 that these facts were accurate.

  Spectrum filed this lawsuit in the Southern District and alleged, based on Defendant’s statements

  under penalty of felony, that Defendant resided in this district. [See D.E. 1, ¶¶ 6, 9].

         Defendant now claims that he was not born in Florida, has never lived in Florida, and

  does not have an address in Florida. [D.E. 10].1 To support his claim, Defendant provides a lease

  from 2014 and motor vehicle printout showing that he had a Pennsylvania license issued in 2013

  and again in 2016. Fatally, neither of those documents is dispositive of Defendant’s residence at

  the time of his trademark application or the time of filing this suit. Even more fatally, Defendant

  does not provide an affidavit to support his claim — an affidavit that would necessarily

  contradict prior statements made under penalty of felony.

         To support its jurisdictional allegations, Spectrum need only rely on Defendant’s

  statements to the PTO and the Florida Department of State, as explained below. In addition to his

  statement to the PTO at the time of filing the trademark application at issue here, Defendant has

  also (1) continued to use his district address in subsequent PTO filings and (2) formed multiple

  businesses in Florida using an address in the district. For instance, in March 2019, Defendant

  asked for an extension to file a Statement of Use with the PTO. See Request for Extension,

  attached as Exhibit A. Therein, Defendant again used his Port St. Lucie address. In addition, in



  1
    Defendant also seeks $500,000 in sanctions against Spectrum and its undersigned attorneys for
  damaging his “good name.” Clearly, the act of initiating litigation against a person, absent a
  finding of bad faith, is not grounds for sanctions. See Peer v. Lewis, 606 F.3d 1306 (11th Cir.
  2010).



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  February of 2018 and April of 2019, respectively, Defendant registered two separate businesses

  in Florida using his Port St. Lucie address: Spectrum Aesthetics Center for Cosmetic Surgery,

  LLC; and A-1 Mortgage Corporation. See Organizational Documents, attached as Composite

  Exhibit B.2 Defendant is listed as an owner of both of these businesses and provided the same

  Port St. Lucie address in the corporate filings. See Ex. B. When Defendant signed the A-1

  Mortgage Corporation Articles of Incorporation in April 2019 — nineteen days before this

  lawsuit was filed —, he affirmed that his Port St. Lucie address was true under penalty of felony.

  See Ex. B., p. 2.

            Despite Defendant’s recent declarations to federal and state agencies that he is a resident

  of the district, he now asks the Court to dismiss this case for lack of personal jurisdiction.

  Defendant cannot carry his burden to challenge Plaintiff’s jurisdictional allegations and the

  Motion must be denied. Alternatively, even if Defendant were a nonresident, his Motion must

  still fail because this Court has personal jurisdiction over him.

      II.   ARGUMENT

               A. Legal Standard.

            Rule 12(b)(2) of the Federal Rules of Civil Procedure governs motions to dismiss for lack

  of personal jurisdiction. On a motion to dismiss, the court must accept all facts alleged in the

  complaint as true, “to the extent they are uncontroverted by the defendant’s affidavits.” Barrocos

  2
    Because Spectrum must provide evidence to support its jurisdictional allegations, it respectfully
  requests that this Court take judicial notice of the documents attached in Exhibits A and B hereto
  under Rule 201 of the Federal Rules of Evidence. See RGF Envtl. Grp., Inc. v. Activ Tek Envtl.
  Corp., No. 08-CIV-80682-DIMITROULEAS, 2009 U.S. Dist. LEXIS 139366, at *9 (S.D. Fla.
  July 17, 2009) (noting that the PTO’s own website records cannot be reasonably questioned;
  collecting cases taking judicial notice of information on the PTO website); see also Rubinstein v.
  Keshet Inter Vivos Trust, No. 17-61019-Civ-WILLIAMS/TORRES, 2018 U.S. Dist. LEXIS
  98488, at *13 (S.D. Fla. June 11, 2018) (taking judicial notice of records because they were
  available on the Florida Department of State’s website, a verified website from a public agency).



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  of Fla., Inc. v. Elmassian, No. 11-cv-22393-SCOLA, 2012 U.S. Dist. LEXIS 64948, at *4 (S.D.

  Fla. May 9, 2012) (Scola, J.) (citing Consol. Dev. Corp. v. Sherritt, Inc., 216 F.3d 1286, 1291

  (11th Cir. 2000)); see also Daccache v. Quiros, No. 16-cv-21575-MORENO, 2018 U.S. Dist.

  LEXIS 82256, at *33 (S.D. Fla. May 15, 2018) (the burden shifts back to plaintiff to produce

  evidence “when the defendant challenges personal jurisdiction by submitting affidavit evidence

  in support of its position”) (quotation and citation omitted). If a defendant can carry his burden to

  challenge the plaintiff’s allegations, then the burden shifts back to the plaintiff to substantiate the

  jurisdictional allegations by affidavits, testimony, or other evidence of its own. See Barrocos,

  2012 U.S. Dist. LEXIS 64948, at *4–5 (citing Future Tech. Today, Inc. v. OSF Healthcare Sys.,

  218 F.3d 1247, 1249 (11th Cir. 2000)). Generally, a plaintiff “bears the burden of proving by

  affidavit the basis upon which jurisdiction may be obtained only if the defendant challenging

  jurisdiction files affidavits in support of his position.” Daccache, 2018 U.S. Dist. LEXIS 82256,

  at *36 (emphasis supplied). Where the evidence conflicts, “the district court must construe all

  reasonable inferences in favor of the plaintiff.” Barrocos, 2012 U.S. Dist. LEXIS 64948, at *5

  (citing PVC Windoors, Inc. v. Babbitbay Beach Const., N.V., 598 F.3d 802, 810 (11th Cir.

  2010)).

            When jurisdiction is based on a federal question arising under a statute that is silent

  regarding jurisdiction,3 the court must “look to the state long-arm statute in order to determine

  the existence of personal jurisdiction.” Lee v. Branch Banking & Trust Co., No. 18-21876-Civ-

  Scola, 2018 U.S. Dist. LEXIS 186340, at *4 (S.D. Fla. Oct. 31, 2018) (citation omitted). Under

  Eleventh Circuit precedent, defendants may be subject to personal jurisdiction under Florida’s



  3
   The Declaratory Judgment Act does not establish an independent basis for federal jurisdiction.
  See Harbert v. United States, 206 Fed. Appx. 903, 908 (11th Cir. 2006).



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  long-arm statute through specific or general personal jurisdiction. See id. A defendant is subject

  to specific personal jurisdiction for conduct specifically enumerated in Section 48.193, Florida

  Statutes. See id. (citing Waite v. All Acquisition Corp., 901 F.3d 1307, 1312 (11th Cir. 2018)).

          After determining whether personal jurisdiction exists under the long-arm statute, the

  court must next ensure that the exercise of jurisdiction would not violate the defendant’s rights

  under the Due Process Clause. See id. The Eleventh Circuit employs a three-part due process

  test:

      (1) whether the plaintiff's claims arise out of or relate to at least one of the defendant's
          contacts with the forum;

      (2) whether the nonresident defendant purposefully availed himself of the privilege
          of conducting activities within the forum state, thus invoking the benefit of the
          forum state's laws; and

      (3) whether the exercise of personal jurisdiction comports with traditional notions of
          fair play and substantial justice.

  Id. at *6 (citing Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013)).

  Under this test, the court should first focus on the direct relationship between the defendant, the

  forum, and the litigation; then whether the defendant purposely availed himself of the forum; and

  last whether exercise of jurisdiction comports with fair play and substantial justice. See id.

              B. Defendant Cannot Rebut Spectrum’s Jurisdictional Allegations.

          This Court should deny the Motion because Defendant’s evidence is unpersuasive and

  controverted by his recent statements made under penalty of felony.

          Spectrum alleges in its Complaint that this Court has jurisdiction over Defendant because

  he resides in St. Lucie County, Florida. [See D.E. 1, ¶¶ 6, 9]. Spectrum also includes in its

  Complaint Defendant’s declaration under penalty of felony to the PTO that his address, as of

  2018, was in St. Lucie County, Florida. [See D.E. 1-3].




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         To rebut Spectrum’s jurisdictional allegations, Defendant argues that he has never had

  any contact with the State of Florida. [See, generally, D.E. 10]. Defendant provides no affidavit

  to support his claims, and instead provides a lease and a motor vehicle report, neither of which

  are dispositive as to Defendant’s domicile at the time of the trademark filing or the filing of this

  lawsuit. See Barrocos, 2012 U.S. Dist. LEXIS 64948, at *4 (on a motion to dismiss, the court

  must accept all facts alleged in the complaint as true, “to the extent they are uncontroverted by

  the defendant’s affidavits”).

         Defendant’s public statements made under penalty of felony contradict his Motion and

  supporting documents. Defendant declared under penalty of felony to the PTO that he resides in

  this district. [See D.E. 1-3]. And Defendant continued to use that same district address in his

  latest filing with the PTO in March 2019. See Ex. A. Defendant declared under penalty of felony

  in April 2019 — nineteen days before this lawsuit was filed — to the State of Florida that he

  resides in the district. See Ex. B. Defendant cannot have it both ways — he cannot reside in the

  district for purposes of fraudulently attempting to register Spectrum’s trademark and otherwise

  engaging various businesses, but for purposes of this lawsuit conveniently claim domicile in

  another state. Generally, where the evidence conflicts, the district court must construe all

  reasonable inferences in favor of the plaintiff. See Barrocos, 2012 U.S. Dist. LEXIS 64948, at *5

  (citing PVC Windoors, Inc. v. Babbitbay Beach Const., N.V., 598 F.3d 802, 810 (11th Cir.

  2010)). Accordingly, Defendant cannot carry his burden in this instance to rebut Plaintiff’s

  jurisdictional allegations. The Motion should be denied.

             C. Even if Defendant Were a Nonresident, He Would Still Be Subject to This
                Court’s Jurisdiction.

         Even if this Court were to find that Defendant carried his burden to contradict Spectrum’s

  jurisdictional allegations, his Motion must still be denied because this Court has specific personal



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  jurisdiction over him.

         Under Florida’s long-arm statute, a federal court in Florida “has specific jurisdiction over

  a defendant if the action ‘arises from’ his forum-related contacts.” My Pi, LLC v. My Pie Int’l,

  No. 14-62394-CIV-MARTINEZ-GOODMAN, 2015 U.S. Dist. LEXIS 182355, at * 4 (S.D. Fla.

  June 9, 2015) (citing § 48.193(1)(a), Fla. Stat.). For purposes of Section 48.193(1)(a)(2), Florida

  Statutes, a nonresident defendant commits “a tortious act within” Florida for purposes of specific

  personal jurisdiction when he “commits an act outside the state that causes injury within

  Florida.” Louis Vuitton, 736 F.3d at 1353 (citation omitted and emphasis removed).

         In this case, Spectrum alleges tortious conduct. Spectrum alleges that Defendant

  fraudulently applied for a trademark, the registration of which would damage Spectrum’s rights.

  [See D.E. 1, ¶¶ 18, 25, 27–28]. At present, Spectrum conducts business exclusively in this

  district. See Affidavit of Christopher Ron, ¶ 2. Defendant used an address in the district to apply

  for this trademark and interfere with Spectrum’s trademark rights. [D.E. 1-3]. Such conduct has

  caused an injury within Florida. Spectrum has also learned that Defendant recently registered

  Spectrum’s previously inactive entity Spectrum Aesthetics Center for Cosmetic Surgery, LLC,

  using an address in this district. See Ex. B; see also Aff. of Christopher Ron, ¶ 3. This is not

  isolated conduct. Defendant has taken affirmative acts to affect Spectrum’s business and

  intellectual property rights. Defendant has used a Florida address to undertake these acts, while

  also operating various businesses in Florida. This Court has jurisdiction over Defendant.

         Moreover, this Court’s exercise of personal jurisdiction over the Defendant would not

  violate due process. Defendant undertook acts that form the basis for Spectrum’s cause of action.

  In undertaking those acts, Defendant declared, under penalty of felony, that he resided in the

  district. By swearing to the federal government (and the State of Florida, see Ex. B.) that he




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  resides in the district for purposes of registering a trademark, Defendant should reasonably

  anticipate being hailed into this Court. See Louis Vuitton, 736 F.3d at 1355–59.

  III.   CONCLUSION

         Based on the foregoing, Spectrum respectfully requests that this Court deny Defendant’s

  Motion to Dismiss [D.E. 10].

  Dated: June 13, 2019.

                                       Respectfully Submitted:

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 13th day of June, 2019, a true and correct copy of the

  foregoing was electronically filed with the Court using CM/ECF and that the foregoing

  document was served upon Defendant Nicholas Makozy via certified mail at the following

  address:

  Nicholas Makozy
  1808 Garfield Street
  Aliquippa, Pennsylvania 15001


                                                                 By: /s/ James M. Slater
                                                                         James M. Slater




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